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                                                                                 FILED
                                                                      John E. Triplett, Acting Clerk
                                                                       United States District Court

                                                                  By CAsbell at 11:59 am, Jun 17, 2020



           In the United States District Court
           for the Southern District of Georgia
                   Brunswick Division
UNITED STATES OF AMERICA,


      v.                                   CR 218-056-9

CORRIE JERMAINE WILCOX,

      Defendant.

                                 ORDER

     Before the Court is Defendant Corrie Wilcox’s motion to

clarify his sentence.    Dkt. No. 385.

     On May 7, 2020, Wilcox appeared before this Court via video

conference and was sentenced to a term of three years’ probation.

Dkt. No. 377.    Between the time he was arraigned and the time he

was sentenced, Wilcox remained on bond and continued to work in

his capacity as a truck driver. To that end, on March 28, 2019,

the Court granted Wilcox’s motion to modify the terms of his bond

and permitted him to travel to the Northern District of Georgia

and the states of Alabama and Florida in connection with his work.

Wilcox is serving his probation term in the Middle District of

Georgia where a local probation office policy prevents travel

outside of the district for sixty days after sentencing.

     Wilcox now moves the Court to clarify whether it intended his

sentence to allow him to work and travel outside of the Middle
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District and into the Southern District of Georgia, the Northern

District of Georgia, and the states of Alabama and Florida for

work.

     Wilcox’s motion is GRANTED.          It was and is the Court’s

intention that Wilcox be able to travel outside of the Middle

District of Georgia to other districts within Georgia, as well as

Alabama and Florida, for work-related purposes.

        SO ORDERED, this 17th day of June, 2020.




                                 __________________________________
                                 HON. LISA GODBEY WOOD, JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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